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                 Attachment B
Case: 2:22-cv-02653-ALM-CMV Doc #: 106-10 Filed: 06/05/24 Page: 2 of 2 PAGEID #: 3369



  United States District Court for the Southern District of Ohio

  85 Marconi Blvd., Columbus, Ohio 43215

  ATTN: Office of the Clerk, Room 121

  Case No. 2:22-cv-2653

  Date: ____________________

                                         REQUEST FOR HEARING

           I dispute the claim for the attachment of property in the above case and request that a hearing in

  this matter be held at the time and place set forth in the notice that I previously received.

  I dispute the claim for the following reasons:

   (Optional)




  (Name of Defendant)



  (Signature)



  (Date)

  WARNING: IF YOU DO NOT DELIVER THIS REQUEST FOR HEARING OR A REQUEST IN A

  SUBSTANTIALLY SIMILAR FORM TO THE OFFICE OF THE CLERK OF THIS COURT WITHIN

  FIVE (5) BUSINESS DAYS OF YOUR RECEIPT OF IT, YOU WAIVE YOUR RIGHT TO A

  HEARING AT THIS TIME AND YOU MAY BE REQUIRED TO GIVE UP THE PROPERTY

  SOUGHT WITHOUT A HEARING.”
